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                                                                                                                  JEREMY RICHMAN




The'sex slave' scandal that exposed pedophile
billionaire Jeff rey Epstein
                                                                                                                                    October 9, 2016 | 7:O8am




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Jeffrey,Epstein denies allegations by underage girls who say they were lured to his Palm Beach mansion to give him "massages" in exchange for money



ln 2005, the world was introduced to reclusive billionaire Jeffrey Epstein, friend to princes and an American president, a power broker with
the darkest of secrets: He was also a pedophile, accused of recruiting dozens of underage girls into a sex-slave network, buying their
silence and moving along, although he has been convicted of only one count of soliciting prostitution from a minor. Visitors to his private
Caribbean island, known as "Orgy lsland," have included Bill Cllnton, Prince Andrew and Stephen Hawking.

According to a 2011 court fillng by alleged Epstein victim Virginia Roberts Giuffre, she saw Clinton and Prince Andrew on the island but
never saw the former president do anything improper. Giuffre has accused Prince Andrew of having sex with her when she was a minor, a
charge Buckingham Palace denies.

"Epstein lives less than one mile awayfrom me in Palm Beach," authorJames Patterson tells The Post. ln the 11 years since Epstein was
investigated and charged by the Palm Beach police department, ultimately copping a plea and serving 13 months on one charge of soliciting
prostitution from a 14-year-old girl, Patterson has remained obsessed with the case.
                       Case 1:15-cv-07433-LAP
, "He's a fascinating character                            Document
                                to read about," Patterson says.           1295-14
                                                                "What is he            Filed
                                                                            thinking? Who     12/12/22 Page 3 of 6
                                                                                          is he?"




  Patterson's new book, "Filthy Rich: A Poweful Billionaire, the Sex Scandal That Undid Him, and All the Justice That Money Can Buy," is an
 attempt to answer such questions. Co-authored with John Connolly and Tim Malloy, the book contains detailed police interviews with girls
 who alleged sexual abuse by Epstein and others in his circle. Giuffre alleged that Epstein's ex-girlfriend Ghislaine Maxwell, daughter of the
  late media tycoon Robert Maxwell, abused her. Ghislaine Maxwell has denied allegations of enabling abuse.

  Epstein has spent the bulk of his adult life cultivating relationships with the world's most powerful men. Flight logs show that from 2001 to
 2003, Bill Clinton flew on Epstein's private plane, dubbed "The Lolita Express" by the press, 26 times. After Epstein's arrest in July 2006,
 federal tax records show Epstein donated $25,000 to the Clinton Foundation that year.

                                        Epstein was also a regular visitor to Donald Trump's Mar-a-Lago, and the two were friends. According to
                                        the Daily Mail, Trump was a frequent dinner guest at Epstein's home, which was often full of barely
                                        dressed models. ln 2003, New York magazine reported that Trump also attended a dinner party at
                                        Epstein's honoring Bill Clinton.


                                        Last year, The Guardian reported that Epstein's "little black book" contained contact numbers for A-
                                        listers including Tony Blair, Naomi Campbell, Dustin Hoffman, Michael Bloomberg and Richard Branson.

  Bill Clinton in 1994.
 AP
                                        ln a 2006 court filing, Palm Beach police noted that a search of Epstein's home uncovered two hidden
                                        cameras. The Mirror reported that in 2015, a 6-year-old civil lawsuit filed by lJane Doe No. 3," believed
 to be the now-married Giuffre, alleged that Epstein wired his mansion with hidden cameras, secretly recording orgies involving his
  prominent friends and underage girls. The ultimate purpose: blackmail, according to court papers.

  iJane Doe No. 3" also alleged that she had been forced to have sex with "numerous prominent
  American politicians, powerful business executives, a well-known prime minister, and other world
  leaders."

  "We uncovered a lot of details about the police investigation and a lot about the girls, what happened to
  them, the effect on their lives," Patterson says.

  "The reader has to ask: Was justice done here or not?"
                                                                                                                 Britain's Prince Andrew in 2O12
                                                                                                                 AP
  Epstein, now 63, has always been something of an international man of mystery. Born in Brooklyn, he
  had a middle-class upbringing: His father worked for the Parks Department, and his parents stressed
  hard work and education.


                                        Epstein was brilliant, skipping two grades and graduating Lafayette High School in 1969. He attended
  'We uncovered o lot of                Cooper Union but dropped out in 1971 and by 1973 was teaching calculus and physics at Dalton, where

  detoils obout the police              he tutored the son of a Bear Stearns exec. Soon, Epstein applied his facility with numbers on Wall Street
                       Case 1:15-cv-07433-LAP
                                  but left Bear Stearns Document
                                                        under a cloud 1295-14       Filedhis
                                                                      in 1981. He formed  12/12/22     Page
                                                                                             own business,      4 of &6 Co.
                                                                                                           J. Epstein
investigotion ond o lot
obout the girls, whot                  The bar for entry at the new firm was high. According to a 2002 profile in New York magazine, Epstein
hoppened to them, the                  only took on clients who turned over $1 billion, at minimum, for him to manage. Clients also had to pay a
                                       flat fee and sign power of attorney over to Epstein, allowing him to do whatever he saw fit with their
effect on their !ives.'
                                       money.
- James Patterson
                                       Still, no one knew exactly what Epstein did, or how he was able to amass a personal billion-dollar-plus
                                   fortune. ln addition to a block-long, nine-story mansion on Manhattan's Upper East Side, Epstein owns
the $6.8 million mansion in Palm Beach, an $18 million property in New Mexico, the 7O-acre private Caribbean island, a helicopter, a
Gulfstream lV and a Boeing727.

"My belief is that Jeff maintains some sort of money-management firm, though you won't get a straight answer from him," one high-level
investor told New York magazine. "He once told me he had 300 people working for him, and I've also heard that he manages Rockefeller
money. But one never knows. lt's like looking at the Wizard of Oz
                                                                      - there may be less there than meets the eye."




                         Jeffrey Epstein's Palm Beach home
                         Splash News



"He's very enigmatic," Rosa Monckton told Vanity Fair in 2003. Monckton was the former British CEO of Tiffany & Co. and confidante to the
late Princess Diana. She was also a close friend of Epstein's since the 1980s. "He never reveals his hand ... He's a classic iceberg. What you
see is not what you get."

Both profiles intimated that Epstein had a predilection for young women but never went further. ln the New York magazine piece, Trump said
Epstein's self-professed image as a loner, an egghead and a teetotaler was not wholly accurate.

"l've known Jeff for 15 years," Trump said. "Terrific guy. He's a lot of fun to be with. lt is even said that he
likes beautiful women as much as I do, and many of them are on the younger side. No doubt about it -
Jeffrey enjoys his social life."

Three years after that proflle ran, Palm Beach Police Officer Michele Pagan got a disturbing message. A
woman reported that her 14-year-old stepdaughter confided to a friend that she'd had sex with an older
man for money. The man's name was Jeff, and he lived in a mansion on a cul-de-sac.

                                                                                                                   Donald Trump in 199O
Pagan persuaded the woman to bring her stepdaughter down to be interviewed. ln his book, Patterson
                                                                                                                   AP
                       Case
calls tfie girl Mary. And Mary,1:15-cv-07433-LAP            Document
                                like so many of the other girls           1295-14
                                                                who eventually           Filed
                                                                               talked, came     12/12/22
                                                                                             from the little-   Page 5 of 6
known working-class areas surrounding Palm Beach.

A friend of a friend, Mary said, told her she could make hundreds of dollars in one hour, just for massaging some middle-aged guy's feet.
Lots of other girls had been doing it, some three times a week.


Mary claimed she had been driven to the mansion on El Brillo Way, where a female staffer escorted her up a pink-carpeted staircase, then
into a room with a massage table, an armoire topped with sex toys and a photo of a little girl pulling her underwear off.

                                      Epstein entered the room, wearing only a towel, Mary said.

                                      "He took off the towel," Mary told Pagan. "He was a really built guy. But his wee-wee was very tiny."

                                      Mary said Epstein got on the table and barked orders at her. She told police she was alone in the room
                                      with him, terrified.

                                      Pagan wrote the following in her incident report:

                                      "She removed her pants, leaving her thong panties on. She straddled his back, whereby her exposed
                                      buttocks were touching Epstein's exposed buttocks. Epstein then turned to his side and started to rub
                                      his penis in an up-and-down motion. Epstein pulled out a purple vibrator and began to massage Mary's
                                     vaginal area."

                                      Palm Beach assigned six more detectives to the investigation. They conducted a "trash pull" of Epstein's
                                      garbage, sifting through paper with phone numbers, used condoms, toothbrushes, worn underwear. ln
Ghislaine Maxwell                     one pull, police found a piece of paper with Mary's phone number on it, along with the number of the
Gclty'r.gc:                           person who recruited her.

On Sept. 'l'1, 2005, detectives got another break. Alison, as she's called in the book, told Detective Joe Recarey that she had been going to
Epstein's house since she was 16. Alison had been working at the Wellington Green Mall, saving up for a trip to Maine, when a friend told
her, "You can get a plane ticket in two hours ... We can go give this guy a massage and he'll pay $200," according to her statement to the
police.


Alison told Recarey that she visited Epstein hundreds of times. She said he had bought her a new 2005 Dodge Neon, plane tickets, and
gave her spending money. Alison said he even asked her to emancipate from her parents so she could live with him full-time as his "sex
slave."


She said Epstein slowly escalated his sexual requests, and despite Alison's insistence thatthey never have intercourse, alleged, "This one
time ... he bent me over the table and put himself in me. Without my permission."

Alison then asked if what Epstein had done to her was rape and spoke of her abject fear of him.


An abridged version of her witness statement, as recounted in the book:

Alison: Before I say anything else .. . um, is there a possibility that I'm gonna have to go to court or anything?
Recarey: I mean, what he did to you is a crime. I'm not gonna lie to you.
Alison: Would you consider it rape, what he did?
Recarey: lf he put himself inside you without permission ... That, that is a crime. That is a crime.
Alison: I don't want my family to find out about this ... 'Cause Jeffrey's gonna get me. You guys realize that, right? ... I'm not safe now. I'm
not safe.
Recarey: Why do you say you're not safe? Has he said he's hurt people before?
Alison: Well, I've heard him make threats to people on the telephone, yeah. Of course.
Recarey: You're gonna die? You're gonna break your legs? Or-
Alison: All of the above!
                    Case
Alison also told Recarey that1:15-cv-07433-LAP
                              Epstein got so violent with Document       1295-14
                                                          her that he ripped          Filed
                                                                             out her hair and 12/12/22     Page
                                                                                              threw her around.     6 of 6she said, "there's
                                                                                                                "l mean,"
been nights that I walked out of there barely able to walk, um, from him being so rough."

Two months later, Recarey interviewed Epstein's former house manager of 11 years, documented in his probable-cause affidavit as Mr.
Alessi. ?lessi stated Epstein receives three massages a day ... towards the end of his employment, the masseuses . .. appeared to be 16 or
17 years of age at the most . . . [Alessi] would have to wash off a massager/vibrator and a long rubber penis, which were in the sink after the

massage."


Another house manager, Alfredo Rodriguez, told Recarey that very young girls were giving Epstein massages at least twice a day, and in
one instance, Epstein had Rodriguez deliver one dozen roses to Mary, at her high school.

ln May 2006, the Palm Beach Police Department filed a probable-cause affidavit, asking prosecutors to charge Epstein with four counts of
unlaMul sexual activity with a minor
                                             - a second-degree felony - and one count of lewd and lascivious molestation of a '|4-year-old minor,
also a second-degree felony.


                                             Palm Beach prosecutors said the evidence was weak, and after presenting the case to a grand jury,
Todoy, Jeffrey Epstein                       Epstein was charged with only one count of felony solicitation of prostitution. ln 2008, he pleaded guilty

is o free mon, olbeit                        and nominally served 13 months of an 18-month sentence in a county jail: Epstein spent one day a week
                                             there, the other six out on "work release."
one who routinely
settles civil lowsuits                       Today, Jeffrey Epstein is a free man, albeit one who routinely settles civil lawsuits against him, brought
                                             by young women, out of court. As of 2015, Epstein had settled multiple such cases.
ogoinst him, brought
byyoung women, out                           Giuffre has sued Ghislaine Maxwell in Manhattan federal court, charging defamation
                                                                                                                                   - saying Maxwell
of court.                                    stated Giuffre lied about Maxwell's recruitment of her and other underage girls. Epstein has been called
                                             upon to testity in court this month, on Oct. 20.

                                             The true number of Epstein's victims may never be known.

He will be a registered sex offender for the rest of his life, not that it fazes him.

"l'm not a sexual predator, I'm an 'offender,'" Epstein told The Post in 2011. "lt's the difference between a murderer and a person who steals
a bagel."



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